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FoR THE WESTERN DISTRICT oF TENNESSEE D'c'
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W/Do.€§ W`,,§,€gm

Plaintiff,

vs. No. 05-24095D

GENERAL MOTORS CORPORATION and
RAY CHEVROLET, INC.,

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Defendant.

 

ORDER DISMISSING FOR LACK OF SUBJECT MATTER JURISDICTION

 

On June 3, 2005, the plaintiff, Sharon Hanna, a resident of
Arkansas, filed a complaint based on diversity jurisdiction
pursuant to 28 U.S.C. § 1332 against the defendant General Motors
Corporation, a Delaware corporation, and against the defendant, Ray
Chevrolet, Inc., an .Arkansas oorporation, seeking damages for
personal injuries she sustained in an automobile accident on June
26, 2004, in Memphis, Tennessee.

Because it appears on the face of the complaint that there is
not complete diversity between the plaintiff, a citizen of
Arkansas, and the defendant, Ray Chevrolet, Inc., the court may
dismiss the complaint sua sponte for lack of original subject
matter jurisdiction.

Accordingly, the complaint is hereby dismis ed for lack of

 
 
 

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subject matter jurisdiction.

IT IS SO ORDERED.

    

 

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ITED S TES DISTRICT JUDGE

Date:

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02409 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

